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6                              UNITED STATES DISTRICT COURT
7                                      DISTRICT OF ARIZONA
8      Manuel De Jesus Ortega Melendres, on         No. CV-07-2513-PHX-GMS
       behalf of himself and all others
9      similarly situated; et. al.,
10                                                  EXHIBIT LIST
                         Plaintiffs,
11
       and
12
       United States of America,
13
                        Plaintiff-Intervenor,
14
       v.
15
       Russell Skinner, in his official capacity
16     as Sheriff of Maricopa County,
       Arizona, et. al.,
17
                        Defendants.
18

19

20           Exhibit:
21                         A) Traffic Stops Annual Report
22
                           B) Sheriff’s Statement
23

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